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                               UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF WYOMING

BCB CHEYENNE LLC d/b/a BISON               }
BLOCKCHAIN, a Wyoming limited              }
liability company,                         }
                                           }
                       Plaintiff,          }
                                           }
                 vs.                       }         Civil No. 23-CV-79J
                                           }
MINEONE WYOMING DATA CENTER }
LLC, a Delaware limited liability company; }
MINEONE PARTNERS LLC, a Delaware }
limited liability company; TERRA           }
CRYPTO INC., a Delaware corporation;       }
BIT ORIGIN, LTD., a Cayman Island          }
Company; SONICHASH LLC, a Delaware }
limited liability company; BITMAIN         }
TECHNOLOGIES HOLDING COMPANY, }
a Cayman Island Company; BITMAIN           }
TECHNOLOGIES GEORGIA LIMITED, a }
Georgia corporation; and JOHN DOES         }
1-18, related persons and companies who }
control or direct some or all of the named }
Defendants,                                }
                                           }
                       Defendants.         }

 STIPULATION OF DISMISSAL OF BCB’S CLAIMS AGAINST
       BITMAIN DEFENDANTS WITH PREJUDICE



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                 Pursuant to the settlement agreement between Plaintiff BCB Cheyenne LLC d/b/a

Bison Blockchain (“BCB”) and Defendant Bitmain Technologies Georgia Limited (“Bitmain

Georgia”), BCB and Bitmain Georgia hereby stipulate and agree that all of BCB’s claims against

Bitmain Georgia and Bitmain Technologies Holding Company in this action shall be immediately

dismissed with prejudice, each party bearing its own attorneys’ fees, costs, and expenses in the

action.

                 Dated: September 10, 2024.

                                              BITMAIN TECHNOLOGIES GEORGIA
                                              LIMITED, Defendant



                                              BY:_s/Khale J. Lenhart
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                                              BCB CHEYENNE LLC d/b/a BISON
                                              BLOCKCHAIN, Plaintiff



                                              BY: s/Patrick J. Murphy
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                                     CERTIFICATE OF SERVICE

               I certify the foregoing Stipulation of Dismissal of BCB’s Claims Against Bitmain
Defendants with Prejudice was served upon all parties to this action pursuant to the Federal Rules of Civil
Procedure on 10 September 2024, and that copies were served as follows:

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